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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 NEWPORT NEWS DIVISION



UNITED STATES OF AMERICA                      )
ex rel HOANG CAM NGUYEN,                      )
                                              )
        PlaintifT                             )
                                              )          Civil No. 4:24-CV-5
V.                                            ).         FILED UNDER SEAL AND EX PARTE
                                              )          PURSUANT TO 31 U.S.C. § 3730(b)

HEATHER McDONALD,                             )
DAVID BITONTI, and                            )
JOHN “JACK” MARTIN.                           )
                                              )
        Defendants.                           )




                                             ORDER


        The Plaintiff having moved to dismiss and the United States having given written consent

to dismissal of this action pursuant to the False Claims Act, 31 U.S.C. §3730(b)(l), it is hereby

        ORDERED that this matter be dismissed without prejudice as to Relator Hoang Cam

Nguyen, and as to the United States; and it is further

        ORDERED that the case caption, the Complaint, the Amended Complaint, the United

States' Response to Relator's Motion to Voluntarily Dismiss, and this Order be unsealed; and it

is further


        ORDERED that all other contents of the Court’s file in this action remain under seal and


not be made public; and it is further

        ORDERED the seal be lifted as to all other matters occurring in this action after the date

of this Order.
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         A copy of this Order is to be provided to counsel for the United States and Relator.



                                       UNITED STATES DISTRICT JUDGE



Dated;                               , 2024.



Copies to:

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                                       CERTIFICATE OF SERVICE


       I hereby certify that on this    day of April, 2024,1 caused a copy of the foregoing to be

served by first-class mail, postage prepaid, upon:

Emily M. Munn (VSB No. 46390)
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       To preserve the integrity of the government’s ongoing investigation, the relator has been

served with copies of the Application and Order, but not the Memorandum in support thereof.




                                              Clare P.   ‘Ocfker, VSB No. 79236
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